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UNITED STATES DISTRICT COURT                                        ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                       DOC #:
 -------------------------------------------------------------- X   DATE FILED: 8/29/2016
                                                                :
 In re Application of GEORGE W. SCHLICH for :
 Order to Take Discovery Pursuant to 28 U.S.C. § :
 1782                                                           :         16-MC-0319
                                                                :
                                      Applicant.                :
                                                                :
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                                                    ORDER

VALERIE CAPRONI, United States District Judge:

        WHEREAS on August 26, 2016, the Applicant in the above-captioned action filed an

Ex Parte Petition and Application for an Order Pursuant to 28 U.S.C. § 1782 to Conduct

Discovery for use in Foreign Proceedings (the “Petition”), which was referred to the

Undersigned, as the Part I Judge;

        IT IS HEREBY ORDERED that:

        1. While the Court understands that “it is neither uncommon nor improper for district

             courts to grant applications made pursuant to § 1782 ex parte,” Gushlak v. Gushlak,

             486 F. App’x 215, 217 (2d Cir. 2012), fairness and judicial economy would not be

             served by permitting the Petition to proceed ex parte in this particular case.

             Accordingly, not later than September 9, 2016, Applicant is directed to serve a copy

             of the Petition on the individuals and entities from whom he seeks discovery, in

             particular, The Rockefeller University, Luciano Marraffini, Vedder Price P.C. and

             Thomas Kowalski (collectively, the “Respondents”), and note service on the docket.

        2. Not later than September 20, 2016, the Respondents are directed to file a letter

             response showing cause why the Court should not grant the Application and permit
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        Applicant to take the requested discovery. Applicant’s deadline to file a reply in

        further support of its Petition shall be September 27, 2016. The parties are directed

        to appear for oral argument on the Petition before the Part I Judge at 11:00 a.m. on

        October 4, 2016.



SO ORDERED.
                                                  _________________________________
                                                  ______________________________
Date: August 29, 2016                             VALERIE CAPRONI
      New York, New York                          United States District Judge
                                                  PART I




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